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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



ABC Corporation I et al,

                      Plaintiffs,                   CASE NO. 1:20-cv-04806

v.                                                  Judge: Honorable Thomas M. Durkin

THE PARTNERSHIPS and                                Magistrate Judge: Jeffrey Cole
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

                      Defendants.



                DEFENDANT AND THIRD-PARTY RESPONDENTS’
         MOTION FOR EXCEPTIONAL CASE FINDING AND ATTORNEY FEES

         Come Now, Defendant Gyroor-US (“Defendant”) and Third-Party Respondents Gyroor,

Urbanmax, GaodeshangUS, Fengchi-US, Gyroshoes, Jiangyou-US, HGSM and Shenzhen

Yanjingmaoyi Co., Ltd. (collectively, “Third-Party Respondents”) respectfully move the Court to

grant Defendant and Third-Party Respondents’ Motion for Exceptional Case Finding and Attorney

Fees.

         In support of this Motion, Defendant and Third-Party Respondents herewith submit a

Memorandum of Law.




 Date: 3/8/2024                                      /s/ Wei Wang
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this March 8, 2024, I electronically filed the foregoing file

with the Clerk of Court using the CM/ECF system, and service was perfected on all counsel of

record and interested parties through this system, which will deliver a true and correct copy of the

foregoing documents via CM/ECF.




 Date: 3/8/2024                                   /s/ Na Zhang
